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VIA ECF

Hon. Naomi Reice Buchwald
United States District Court
Southern District of New York
500 Pearl Street

New York, New York 10007-1312

Re: Maria Theresa Noble v. Mt. Olivet Church Inc., et. al. v. Browne, et al.
Case No.: 1:18-cv-07871

Dear Judge Buchwald,

As you may recall, my firm represents the defendants / third party plaintiffs Mt. Olivet
Church, Inc. and Ms. Staatz (collectively, “The Church”) in the above referenced matter. I write
this letter pursuant to Section 2(E)(1) of Your Honor’s Individual Rules to outline the substantive
argument in opposition to Browne’s motion to dismiss.

First, it is important to note that the Church is NOT suing Browne for (a) malpractice, (b)
negligence, (c) violation of the disciplinary code, and (d) failure to complete the OAG
paperwork. Moreover, and contrary to Browne’s representation, the Church wants out of the
contract of sale authored by Browne at the behest of her undisclosed employer/client Noble as it
was and still is well below market value [a fact Browne actively misrepresented to the Church,
also Browne’s client (896, 899,900, 902 — ATPC)].

Second, the facts of the ATPC exceed the plausible theory requirement against Browne as
the Second Circuit has recognized same, see. Milbank, Tweed, Hadley & McCloy v. Boon, 13
F.3d 537 (2d Cir. 1994), Estate of Re v. Kornstein, Veisz & Wexler, 958 F. Supp. 907
(S.D.N.Y.1997) and Schutz v. Kagan Lubic Lepper Finkelstein & Gold, LLP (S.D. N.Y. 2013)

Third, it is the Church’s position that the Amended Third-Party Complaint sufficiently

pleads a case against Browne for (1) a Breach of the Implied Covenant of Good Faith, (2) Breach
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of Fiduciary Duty, (3) Fraud, and (4) Conspiracy to Commit Fraud. The 1,071 paragraphs of the
ATPC are supported by documents and testimony detailing Browne’s active participation in
assisting her client Noble (the purchaser) to acquire the subject property from her other client,
the Church (the seller), at below market value. Browne acted as the attorney for both the
purchaser and seller without disclosing her conflict to the Church. Moreover, Browne had as her
co-counsel Jaime Ramirez who was also Noble’s attorney and neither Browne nor Ramirez
disclosed that conflict to the Church. This is important because Ramirez allegedly received the
$15,000.00 contract deposit in 2014 and never deposited same. In 2015, Ramirez would have
the Church sign a contract of sale for $500,000.00 which was $100,000.00 less than the 2014
contract. The 2015 contract again referenced the alleged $15,000.00 contract deposit given by
Noble. For yet some unknown reason, a third contract was entered into in 2017 wherein Browne
and Ramirez would represent the Church. However, one week prior to the signing of the 2017
contract, Noble the purchaser would secretly retain Browne to represent her and then convince
the Church to use Browne as its attorney. Neither Browne nor Noble informed the Church of
Browne’s conflict which is important as the Church had reservations about the third contract.

On May 16, 2017 prior to signing the third contract, the Church raised concerns with
Browne regarding Noble’s conduct. Browne assuaged the Church’s anxiety by vouching for
Noble (4991— ATPC), assuring the Church that she had their best interests at heart (7891, 892—
ATPC), and affirmatively misrepresenting to the Church that she was holding the $15,000.00
contract deposit ({898 — ATPC), a fact ironically borne out by Browne’s exhibit “B”. Browne
also affirmatively misrepresented that the sale price of $500,000.00 was at market value (7896,
899,900, 902 — ATPC).

The record establishes that Browne not only concealed her dual representation from the
Church but actively chose Noble’s interests over The Church’s. Browne’s failure to disclose her
dual representation were not the only facts she concealed from the Church whom she owed a

duty of good faith and fair dealing. Browne also failed to disclose and actively concealed from
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the Church that (1) Noble’s $15,000.00 check was never deposited, (2) Ramirez had a conflict of
interest, (3) Noble breached the 2014 contract, (4) Noble breached the 2015 contract, (5) that
Noble had a duty to disclose the self-dealing nature of the transaction, (6) that Noble and Oviedo
had not signed the required RPAPL disclosures, and (7) that the property was being sold below
market value.

The Second Circuit also recognized the viability of the Church’s claims against Browne
in Milbank, Tweed, Hadley & McCloy v. Boon, 13 F.3d 537 (2d Cir. 1994). In Milbank, the
Second Circuit held that an effective deterrence of breaches of fiduciary duty requires “a
prophylactic rule intended to remove all incentive to breach — not simply to compensate for
damages in the event of a breach”. When a law firm has allegedly breached a fiduciary duty,
therefore, the plaintiff “does not have to show strict ‘but for’ causation or proximate cause.”
Rather, the plaintiff claiming a breach of fiduciary duty has to show only that the defendant law
firm’s breach was at least a “substantial factor” in causing harm. The defendant law firm “cannot
enjoy impunity by showing that [the plaintiffs] losses might have resulted from other possible
causes.”

In Estate of Re v. Kornstein, Veisz & Wexler, 958 F. Supp. 907 (S.D.N.Y.1997), Judge
Sonia Sotomayor denied summary judgment on the breach of fiduciary duty claim, ruling
that the evidence was strong enough for a reasonable jury to find that the alleged conflicts of
interest were a “substantial factor” in the law firm’s losing effort in the underlying matter.

As the Court will note, the Church has not only set forth viable claims against

Browne but documented them with evidence.

Very Truly Yours,

/s David J Broderick

DAVID J. BRODERICK
